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                            IN THE UNITED STATES DISTRICT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

VS                                            CASE NO. 4:08CR00332 - 04 JMM

WALTER LEE ROBINSON, JR.

                                              ORDER

         On June 19, 2009, the Court granted Defendant’s Motion for Examination to Determine

Competency to Stand Trial (18 U.S.C. § 4241) and the Government’s request for defendant to be

examined for a Determination of Existence of Insanity at the Time of Offense (18 U.S.C. §

4242).

         The United States Marshal for the Eastern District of Arkansas has advised the Court that

Defendant has been designated to FCI Fort Worth Detention Center for these examinations.

Accordingly, the United States Marshal is directed to transport Defendant to the FCI Fort Worth

Detention Center forthwith.1

         Under 18 U.S.C. § 4247(b) and (c), Defendant is committed to the custody of the

Attorney General, or his authorized representative, for a period not to exceed thirty (30) days for

a psychiatric or psychological examination under 18 U.S.C. § 4241 and for a period not to exceed

forty-five (45) days for psychiatric or psychological examination under 18 U.S.C. § 4242. Both

time periods exclude any time consumed by transportation.

         Based on 18 U.S.C. § 4247(c), the facility conducting the examination will file a report

with this Court with copies to Defendant’s counsel and the Prosecution.



         1
        Based on 18 U.S.C. § 3161(h)(1)(F), time consumed by transportation in excess of ten
(10) days from today is presumed unreasonable under the Speedy Trial Act.

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       Eleven (11) days from the date the examination report is received by the Court and the

parties, any party who requests a hearing regarding any issues in the report or opposes the report

must file a motion for hearing or a motion in opposition, including a concise statement of

opposition to the report and supporting authorities.

       If no motions are filed within eleven (11) days, the Court will enter an Order adopting or

rejecting the conclusions set forth in the report, and the period of excludable delay will end.2

       IT IS SO ORDERED this _25__ day of June, 2009.




                                                           ________________________________
                                                            UNITED STATES DISTRICT JUDGE




       2
           18 U.S.C. § 3161(h)(1)(A).

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